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             United States Court of Appeals
                      FOR THE DISTRICT OF COLUMBIA CIRCUIT



            Argued February 23, 2023         Decided September 5, 2023
                                            Reissued September 13, 2023

                                    No. 23-3001

                                 IN RE: SEALED CASE


                     Appeal from the United States District Court
                             for the District of Columbia
                                 (No. 1:22-sc-02144)




                John P. Rowley, III argued the cause for appellant. With
            him on the briefs were John S. Irving, Stan M. Brand, and
            Stanley E. Woodward, Jr.

                John M. Pellettieri, Assistant Special Counsel, U.S.
            Department of Justice, argued the cause for appellee. With him
            on the brief were J.P. Cooney, Deputy Special Counsel, and
            Raymond N. Hulser, Counselor to the Special Counsel.

                Before: HENDERSON, KATSAS, and RAO, Circuit Judges.

                Opinion for the Court filed by Circuit Judge RAO.

                Concurring opinion filed by Circuit Judge KATSAS.

                RAO, Circuit Judge: This case concerns the application of
            the Speech or Debate Clause privilege to the contents of
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            Representative Scott Perry’s cell phone, which was seized by
            the Federal Bureau of Investigation pursuant to a warrant. In a
            district court motion, Representative Perry argued the Clause
            bars the government from reviewing many of the messages
            stored on the phone. As to communications with Executive
            Branch officials and parties outside of Congress,
            Representative Perry argues that his messages are necessarily
            privileged because they constitute “informal factfinding”—a
            capacious category he asserts is always privileged and includes
            a Member’s attempts to obtain information related to topics of
            upcoming votes without express House authorization.

                 We disagree. Because at least some informal factfinding is
            unprotected under our caselaw, Representative Perry’s
            categorical rule fails. Under Supreme Court and circuit
            precedent, the proper inquiry is fact-specific and considers
            whether the act is “legislative,” i.e., “an integral part of the
            deliberative and communicative processes by which Members
            participate in committee and House proceedings with respect
            to the consideration and passage or rejection of proposed
            legislation or with respect to other matters which the
            Constitution places within the jurisdiction of either House.”
            Gravel v. United States, 408 U.S. 606, 625 (1972).

                 Some acts of informal factfinding, however, might satisfy
            the Gravel test, and so we reject the district court’s categorical
            holding that such acts are never legislative acts subject to the
            privilege. With respect to Representative Perry’s
            communications with Executive Branch officials and others
            outside of Congress, we remand for the district court to apply
            the Gravel standard on a communication-by-communication
            basis.

               As to Representative Perry’s communications with
            Members of Congress and congressional staff, we affirm in
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            large measure. The district court, however, incorrectly
            withheld the privilege from communications between
            Representative Perry and other Members about the 2020
            election certification vote and a vote on proposed election
            reform legislation. These are quintessential legislative acts
            entitled to the privilege, and we vacate the district court’s
            judgment with respect to those communications and remand.

                                           I.

                 Scott Perry represents Pennsylvania’s 10th Congressional
            District in the House of Representatives. After the 2020
            presidential election, Representative Perry used his personal
            cell phone to send and receive communications concerning
            allegations of fraud in that election. Some of these
            communications were with fellow Members of Congress or
            with congressional staff. Representative Perry also
            communicated with members of the Executive Branch and with
            individuals outside the federal government. He sent and
            received many of these communications before the House
            voted on whether to certify the electoral votes from the 2020
            election. See U.S. CONST. amend. XII (directing that “the
            President of the Senate shall, in the presence of the Senate and
            House of Representatives, open all the [Electors’] certificates
            and the votes shall then be counted”); Electoral Count Act of
            1887, ch. 90, 24 Stat. 373 (codified as amended at 3 U.S.C.
            § 15) (providing procedures for the congressional certification
            vote). Other communications occurred with respect to a vote
            on proposed legislation to alter election procedures. For the
            People Act of 2021, H.R. 1, 117th Cong.

                 In August 2022, a magistrate judge of the Middle District
            of Pennsylvania issued a search warrant authorizing the FBI to
            seize Representative Perry’s phone and create a forensic copy
            of its contents. After executing the warrant, the FBI sought a
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            separate search warrant from the District Court for the District
            of Columbia to review the forensic copy. The court granted the
            warrant, with the proviso that Representative Perry would have
            an opportunity to assert any claims of privilege under the
            Speech or Debate Clause before the government could review
            the phone’s contents. For this procedure, the district court
            relied on United States v. Rayburn House Office Building,
            which held the Executive Branch must “afford[] [a]
            Congressman an opportunity to assert the [Speech or Debate]
            privilege” before reviewing materials that likely contain
            privileged items. See 497 F.3d 654, 663 (D.C. Cir. 2007).

                 Representative Perry filed a “Motion for Nondisclosure”
            in district court, arguing 2,219 communications were
            privileged from disclosure under the Speech or Debate Clause.
            He contended that the Clause protects Members’ efforts at
            informal factfinding. In his view, a Member’s attempts to
            gather information related to upcoming votes are always
            privileged legislative acts because investigation is essential to
            the wise exercise of the legislative power.

                 Following an in camera review of the contested records,
            the district court ordered Representative Perry to disclose all
            but 164 of them. 1 In re Search of Forensic Copy of Cell Phone
            of Representative Scott Perry (“In re Search”), No. 1:22-sc-
            02144, slip op. at 51 (D.D.C. Dec. 28, 2022). The court held
            informal factfinding is never a legislative act and therefore
            these communications are outside the Clause’s scope. The
            court based this conclusion on the principle that formal
            factfinding—i.e., investigation pursuant to official

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             The communications remain under seal, as do some of the district
            court proceedings. This opinion cites only to the unsealed portions
            of the record, and it cites only to parts of the parties’ briefs that do
            not concern sealed material.
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            authorization of a House of Congress—is protected under the
            Clause. The court inferred the privilege does not attach to
            factfinding in the absence of such official authorization. Id. at
            21.

                 The court sorted the communications into three categories.
            As to category (1), Representative Perry’s communications
            with individuals outside the federal government, the district
            court concluded these communications were not privileged
            because they were informal factfinding. Id. at 28–39. As to
            category (2), Representative Perry’s communications with
            other Members of Congress and with congressional staff, the
            district court held some of these communications were
            privileged legislative acts, while others were too far removed
            from the legislative process. Id. at 39–46. As to category (3),
            Representative Perry’s communications with members of the
            Executive Branch, the district court held none of these
            communications were privileged because they were “political”
            or not factfinding at all. Id. at 48–51.

                We stayed the district court’s order pending appeal and
            expedited the case. Our review is de novo. See Ass’n of Am.
            Physicians & Surgeons, Inc. v. Schiff, 23 F.4th 1028, 1032
            (D.C. Cir. 2022).

                                           II.

                 At the outset, the government maintains we lack
            jurisdiction over this appeal because orders requiring the
            disclosure of documents or records are ordinarily not
            immediately appealable. The subject of a disclosure order must
            usually “refuse to comply and litigate [disclosure] questions in
            the event that contempt or similar proceedings are brought
            against him”; he may then appeal any resulting contempt order.
            Gov’t Br. 15–16 (quoting United States v. Ryan, 402 U.S. 530,
            532 (1971)). The government argues this rule applies here, so
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            that Representative Perry’s only route to appellate review is to
            incur contempt and appeal from that order. We disagree.

                 Under our precedent, the district court’s partial denial of
            Representative Perry’s nondisclosure motion is an immediately
            appealable collateral order. The collateral order doctrine treats
            some decisions as “final” even if they do not terminate the case.
            Cohen v. Beneficial Indus. Loan Corp., 337 U.S. 541, 545–46
            (1949); 28 U.S.C. § 1291 (providing jurisdiction in the courts
            of appeals over “final decisions”). This is a “small category,”
            and it “includes only decisions that are conclusive, that resolve
            important questions separate from the merits, and that are
            effectively unreviewable on appeal from the final judgment in
            the underlying action.” Swint v. Chambers Cnty. Comm’n, 514
            U.S. 35, 42 (1995).

                 This court has applied the collateral order doctrine in
            Speech or Debate cases involving the protection of Members’
            documents. In Rayburn, we held a district court’s denial of a
            “[c]ongressman’s motion for return of … seized materials” on
            Speech or Debate grounds was a collateral order. 497 F.3d at
            657–59. And in In re Grand Jury Subpoenas, we reached the
            same conclusion with respect to the district court’s denial of a
            motion to quash a subpoena on Speech or Debate grounds. 571
            F.3d 1200, 1201–02 (D.C. Cir. 2009). Here, a Member of
            Congress asserted the Speech or Debate privilege by way of an
            evidentiary motion in district court, asserting that the Executive
            was wrongfully attempting to review privileged documents.
            The district court partially denied the motion. That is an
            immediately appealable collateral order under a
            straightforward application of Rayburn and In re Grand Jury
            Subpoenas.

               The government contends we lack jurisdiction because of
            Mohawk Industries, Inc. v. Carpenter, 558 U.S. 100 (2009). In
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            Mohawk, the Supreme Court held a district court’s disclosure
            order is not immediately appealable even when the attorney-
            client privilege is at stake. Id. at 103. Yet the Court reserved
            judgment on whether the denial of a governmental privilege
            should be treated the same as a private privilege, “express[ing]
            no view” on whether “collateral order appeals should be
            available for rulings involving certain governmental privileges
            in light of their structural constitutional grounding under the
            separation of powers, relatively rare invocation, and unique
            importance to governmental functions.” Id. at 113 n.4 (cleaned
            up).

                 The Speech or Debate privilege concerns the separation of
            powers; it is rarely invoked; and it is uniquely important to the
            fulfillment of governmental functions. See United States v.
            Johnson, 383 U.S. 169, 179 (1966). By recognizing the unique
            status of governmental privileges, Mohawk left our precedent
            untouched. Following Rayburn and In re Grand Jury
            Subpoenas, the denial of a claim of Speech or Debate Clause
            privilege over documents is an immediately appealable
            collateral order, and so we have jurisdiction over
            Representative Perry’s appeal. 2

                                              III.

                 Representative Perry invokes the Speech or Debate Clause
            to protect over two thousand documents and communications
            on his cell phone against disclosure to the Executive Branch.
            To evaluate his claims, we begin by setting forth our well-
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              Representative Perry also argues that, even without the collateral
            order doctrine, the district court’s order was final because it “end[ed]
            the litigation on the merits and le[ft] nothing for the court to do but
            execute the judgment.” Catlin v. United States, 324 U.S. 229, 233
            (1945). Because we have jurisdiction under the collateral order
            doctrine, we do not address this alternative argument.
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            established framework for considering whether a particular
            matter comes within the Clause’s coverage.

                                            A.

                 The Speech or Debate Clause provides that “for any
            Speech or Debate in either House, [Senators and
            Representatives] shall not be questioned in any other Place.”
            U.S. CONST. art. I, § 6, cl. 1. In the Constitution’s careful
            separation of powers, the Clause serves to safeguard the
            independence of Congress, “prevent[ing] intimidation of
            legislators by the Executive and accountability before a
            possibly hostile judiciary.” Gravel, 408 U.S. at 617. The Clause
            is “one manifestation of the [Constitution’s] ‘practical security’
            for ensuring the independence of the legislature.” Johnson, 383
            U.S. at 179 (quoting THE FEDERALIST NO. 48, at 332 (James
            Madison) (Jacob E. Cooke ed., 1961)); see also 2 JOSEPH
            STORY, COMMENTARIES ON THE CONSTITUTION § 863 (1st ed.
            1833) (calling the privilege a “great and vital” one, “without
            which all other privileges would be comparatively
            unimportant, or ineffectual”).

                 While the privilege’s core is speech and debate in either
            House, it has long been recognized to reach other acts within
            legislative proceedings. 3 In 1808, the Supreme Judicial Court

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              The Clause mirrors the language of the English parliamentary
            privilege, and that history has at times been relevant for
            understanding the Clause but within the context of Congress’s
            limited legislative powers. See, e.g., 2 STORY, COMMENTARIES
            § 863 (explaining the American “privilege … is derived from the
            practice of the British parliament” but acknowledging “important
            distinction[s] arising from the actual differences between English
            and American legislation”); Kilbourn v. Thompson, 103 U.S. 168,
            201 (1881) (“[W]hile the framers of the Constitution did not adopt
            the lex et consuetudo of the English Parliament as a whole, they did
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            of Massachusetts, interpreting a nearly identical legislative
            privilege in that state’s constitution, refused to “confine [the
            privilege] to delivering an opinion, uttering a speech, or
            haranguing in debate,” and instead extended it to voting,
            making written reports, and “to every other act resulting from
            the nature, and in the execution, of the office.” Coffin v. Coffin,
            4 Mass. (3 Tyng) 1, 27 (1808). The Supreme Court
            subsequently called Coffin “perhaps … the most authoritative
            case in this country on the construction of the [Speech or
            Debate Clause] in regard to freedom of debate in legislative
            bodies,” noting it was decided “early after the formation of the
            Constitution of the United States.” Kilbourn v. Thompson, 103
            U.S. 168, 204 (1881). And when the Supreme Court considered
            the Clause’s reach for the first time, it followed Coffin, holding
            the Clause went beyond “words spoken in debate” to include
            written reports and resolutions, voting, and other “things
            generally done in a session of the House by one of its members
            in relation to the business before it.” Id.

                 While the Clause covers more than literal speech and
            debate, its reach has always been confined to legislative acts
            undertaken within the legislative process. Thomas Jefferson
            commented the privilege “is restrained to things done in the
            House in a Parliamentary course” and does not attach “contra
            morem parliamentarium [against parliamentary custom], to
            exceed the bounds and limits of [a Member’s] place and duty.”
            1 THOMAS JEFFERSON, A MANUAL OF PARLIAMENTARY
            PRACTICE 23–24 (2d ed. 1812) (italics added). Joseph Story
            similarly stated the privilege “is strictly confined to things done
            in the course of parliamentary proceedings, and does not cover

            incorporate such parts of it, and with it such privileges of Parliament,
            as they thought proper to be applied to the two Houses of
            Congress.”); Johnson, 383 U.S. at 180–83 (discussing English
            history and the Clause’s purposes).
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             things done beyond the place and limits of duty.” 2 STORY,
             COMMENTARIES § 863; see also Hutchinson v. Proxmire, 443
             U.S. 111, 126 (1979) (quoting this passage with approval).

                  In adjudicating the scope of the privilege, courts have
             consistently recognized both the privilege’s importance for
             congressional independence and the limits of the privilege to
             acts within the legislative sphere. For instance, the Coffin court
             emphasized the privilege attaches only to a legislator’s words
             or acts made “in the character of a representative” and while
             “executing the duties of his office.” 4 Mass. at 29–31. In
             Johnson, the Court explained the privilege “will be read
             broadly to effectuate its purposes,” but limited the Clause’s
             protection to barring a conspiracy charge insofar as it was
             based on a Member’s speech, while allowing the prosecution
             to proceed for matters unrelated to the speech. 383 U.S. at 172,
             180, 185. And in United States v. Brewster, the Court
             maintained it would not be “wise, simply out of an abundance
             of caution to doubly insure legislative independence, to extend
             the privilege beyond its intended scope, its literal language, and
             its history, to include all things in any way related to the
             legislative process.” 408 U.S. 501, 516 (1972) (emphasis
             added).

                  The Supreme Court synthesized the Clause’s history in a
             pair of cases that set forth the modern test for what types of
             “legislative acts” beyond pure speech and debate are privileged
             under the Clause. In Brewster, the Court noted “[a] legislative
             act has consistently been defined as an act generally done in
             Congress in relation to the business before it” and that not all
             “conduct related to the due functioning of the legislative
             process” is automatically privileged. Id. at 512, 513–14
             (cleaned up). And in Gravel, the Court further clarified:
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                     Legislative acts are not all-encompassing. The
                     heart of the Clause is speech or debate in either
                     House. Insofar as the Clause is construed to
                     reach other matters, they must be an integral
                     part of the deliberative and communicative
                     processes by which Members participate in
                     committee and House proceedings [1] with
                     respect to the consideration and passage or
                     rejection of proposed legislation or [2] with
                     respect to other matters which the Constitution
                     places within the jurisdiction of either House.
             408 U.S. at 625.

                  The Court’s subsequent cases leave no doubt: Gravel sets
             forth the criterion for assessing the reach of the Speech or
             Debate privilege. In Doe v. McMillan, the Court held the
             privilege did not apply to acts that were “not an essential part
             of the legislative process and [were] not part of that deliberative
             process ‘by which Members participate in committee and
             House proceedings.’” 412 U.S. 306, 315 (1973) (quoting
             Gravel, 408 U.S. at 625). There, the Member maintained the
             privilege should attach to acts that served legislative functions,
             but that argument was unavailing because the acts were not
             “legislative” within the meaning of Gravel. Id. at 313–14. In
             Eastland v. United States Servicemen’s Fund, the Court
             “specifically” made clear that the judicial task is to “determine
             whether the [contested] activities are” within Gravel’s
             definition of “legislative acts.” 421 U.S. 491, 504 (1975). In
             Hutchinson, the Court quoted Gravel at length and similarly
             described its formulation as the controlling “definition of the
             scope of the Clause.” 443 U.S. at 126–27; see also United
             States v. Helstoski, 442 U.S. 477, 492 (1979) (citing Gravel
             favorably).
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                  When evaluating whether something is a “legislative act”
             within the meaning of Gravel, the Court will often consider
             whether protection of the privilege is “necessary to preserve the
             integrity of the legislative process,” Brewster, 408 U.S. at 517;
             whether the “independence” of the legislature is at stake,
             Eastland, 421 U.S. at 511; and whether the actions at issue are
             things “generally done in the course of the process of enacting
             legislation,” Hutchinson, 443 U.S. at 131 (citing Kilbourn, 103
             U.S. at 204) (cleaned up). These considerations are important
             for understanding the scope of the Speech or Debate Clause,
             and they help to flesh out the application of the Gravel criteria
             to specific facts.

                  The Clause’s coverage for legislative acts is further
             delineated by what is not privileged. The Supreme Court has
             repeatedly emphasized that Members may engage in a variety
             of legitimate actions within the duties of their office without
             triggering the privilege. For instance, “legitimate activities [of
             a] political … nature,” such as “‘errands’ performed for
             constituents, the making of appointments with Government
             agencies, assistance in securing Government contracts, … and
             speeches delivered outside the Congress” are not necessarily
             privileged. Brewster, 408 U.S. at 512. The act of sending
             political newsletters to constituents is not privileged.
             Hutchinson, 443 U.S. at 130. And “cajol[ing] … and
             exhort[ing]” members of the Executive Branch “with respect
             to the administration of a federal statute … is not protected
             legislative activity.” Gravel, 408 U.S. at 625. While such acts
             are all in a day’s work for a Member of Congress, they are not
             privileged under the Speech or Debate Clause.

                  These decisions highlight that “there is a difference
             between actions taken by legislators, however frequently, and
             legislative activity protected by the immunity of the Speech or
             Debate Clause.” McSurely v. McClellan, 553 F.2d 1277, 1286
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             n.28 (D.C. Cir. 1976) (en banc) (majority opinion). 4 The
             privilege does not turn on whether an action is in some general
             sense “official”; rather, it turns on whether it is a legislative act
             within the scope of Gravel. As we have explained, “[b]eyond
             actual speech or debate, an act is considered ‘legislative’ only
             if” it falls within one of Gravel’s two categories. Massie v.
             Pelosi, 72 F.4th 319, 322 (D.C. Cir. 2023) (emphasis added);
             see also, e.g., McCarthy v. Pelosi, 5 F.4th 34, 39 (D.C. Cir.
             2021); United States v. Rostenkowski, 59 F.3d 1291, 1302
             (D.C. Cir. 1995). And unlike executive privilege, which may
             extend to “the outer perimeter of … official duties,” Chastain
             v. Sundquist, 833 F.2d 311, 315 (D.C. Cir. 1987), the
             “Clause … does not protect acts that are not legislative in
             nature, even if they are performed in a Member’s official
             capacity,” United States v. Rose, 28 F.3d 181, 187 (D.C. Cir.
             1994) (cleaned up); see also Fields v. Office of Eddie Bernice
             Johnson, 459 F.3d 1, 12–13 (D.C. Cir. 2006) (en banc)
             (plurality opinion) (distinguishing executive and legislative
             privileges and explaining “[i]t is not enough that a Member’s
             conduct is within the outer perimeter of the legislative
             process”).

                 Across a wide variety of factual circumstances, the
             Supreme Court and this circuit have faithfully applied the
             Gravel test and the principles animating it to determine
             whether an act is legislative and therefore privileged under the
             Speech or Debate Clause.

                                              B.

                  If a Member’s act qualifies as legislative under Gravel, the
             privilege applies and the Clause confers three “absolute”

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              Unless otherwise noted, we cite to the McSurely majority opinion,
             not the short per curiam opinion that preceded it.
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             protections. See Eastland, 421 U.S. at 509. First, the privilege
             includes immunity from suit—a Member may not be sued or
             prosecuted for his legislative acts. Id. at 502. Second, the
             privilege includes an evidentiary privilege—legislative acts
             may not be introduced into evidence even when the
             government seeks to punish a Member for non-legislative acts.
             Johnson, 383 U.S. at 176–77. Third, the privilege encompasses
             a testimonial privilege not to “be questioned in any other
             Place.” U.S. CONST. art. I, § 6, cl. 1. This means that only
             Congress, not the Executive or Judiciary, may force a Member
             to testify about legislative acts. Gravel, 408 U.S. at 616.
             Legislative acts receive these protections regardless of the
             Member’s subjective motives. See Tenney v. Brandhove, 341
             U.S. 367, 377 (1951) (“[I]t [i]s not consonant with our scheme
             of government for a court to inquire into the motives of
             legislators.”).

                  In addition, this court also recognizes that one aspect of
             the testimonial privilege is a limited protection against the
             compelled disclosure of documents. In Brown & Williamson
             Tobacco Corp. v. Williams, we explained the “testimonial
             immunity of the Speech or Debate Clause” applies beyond the
             direct questioning of Members because “[d]ocumentary
             evidence can certainly be as revealing as oral
             communications.” 62 F.3d 408, 420 (D.C. Cir. 1995); see also
             MINPECO, S.A. v. Conticommodity Servs., Inc., 844 F.2d 856
             (D.C. Cir. 1988). Just as the other branches may not compel
             verbal testimony concerning legislative acts, they may not
             force Members to hand over documentary evidence of those
             acts. See United States v. Hubbell, 530 U.S. 27, 40 (2000)
             (While “compelled testimony … is not to be found in the
             contents of the documents produced in response to [a]
             subpoena,” compelled testimony is often “inherent in the act of
             producing those documents.”) (cleaned up). Similarly, a private
             litigant “is no more entitled to compel [the]
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             congressional … production of documents … than it is to sue
             congressmen.” Brown & Williamson, 62 F.3d at 421.

                  In Rayburn, we applied these cases to an extraordinary
             circumstance, the Executive’s search of a Representative’s
             House office pursuant to a warrant. 497 F.3d at 663 (remarking
             that “[t]he historical record [is] utterly devoid of Executive
             searches of congressional offices”). Given the location of the
             search, we assumed it “must have resulted in the disclosure of
             legislative materials to agents of the Executive,” and we noted
             that such a broad disclosure would violate the Clause’s
             testimonial privilege. Id. at 661. But we also reiterated that the
             Clause “protects against the compelled disclosure of privileged
             documents … but not the disclosure of non-privileged
             materials.” Id. at 664. We explained the Representative must
             be given some opportunity to assert the privilege in court
             before the Executive could view the documents. Id. at 662–63.
             It is this testimonial protection that Representative Perry
             invokes over the communications and materials on his cell
             phone.

                                             IV.

                  Representative Perry claims the Speech or Debate Clause
             privilege protects many of the communications on his cell
             phone. With respect to communications with individuals
             outside the federal government and with Executive Branch
             officials, categories (1) and (3) of the district court’s analysis,
             Representative Perry argues these are privileged because they
             constitute informal factfinding. 5 This category is somewhat

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              Representative Perry’s claim for privilege with respect to category
             (2), his communications with other Members of Congress and
             congressional staffers, does not hinge on his informal factfinding
             arguments, and we consider these communications in Part V.
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             capacious and not clearly delineated, but Representative
             Perry’s definition seems to be: a Member’s individual efforts
             to obtain information related to an upcoming vote in the
             absence of formal House or committee authorization. See, e.g.,
             Perry Br. 11 (framing the case as concerning “the fact-
             gathering communications that Rep. Perry conducted, as a
             Member of Congress, to inform his legislative actions”); id. at
             17 (“[L]egislative acts include formal and informal fact-
             finding, and efforts to help inform consideration of an
             upcoming vote.”) (cleaned up); id. at 32 (“Each of th[e]
             communications should be viewed … in the context of Rep.
             Perry’s efforts to seek information that was closely tied to his
             official responsibilities.”). Representative Perry maintains that
             anything constituting informal factfinding is a legislative act
             protected by the Clause—that such matters are categorically
             privileged from disclosure. The district court resolved this
             categorical argument with a categorical holding that informal
             factfinding is never protected by the Clause. See In re Search,
             slip op. at 21. The government defends the district court’s
             categorical holding. 6 See Gov’t Br. 41–47.


             6
               The government also argues we need not review the district court’s
             privilege determinations at all. First, the government asks us to limit
             Rayburn to searches of physical offices, as opposed to Members’ cell
             phones. Rayburn, however, explained that the privilege applies
             whenever the Executive Branch searches “a location where
             legislative materials [a]re inevitably to be found.” 497 F.3d at 661.
             A Member’s cell phone is realistically such a location. Cf. Riley v.
             California, 573 U.S. 373, 386 (2014) (“Cell phones … place vast
             quantities of personal information literally in the hands of
             individuals.”).
                   Second, the government contends Rayburn guarantees
             Representative Perry only the opportunity to assert the privilege in
             district court, with no right to appeal, because Rayburn is merely a
             procedural case holding that a district court must conduct one layer
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                                              17
                  The problem with this litigating posture, however, is that
             Representative Perry considers a variety of actions to constitute
             so-called informal factfinding, and under our precedents not all
             of these actions are legislative acts. Because not everything
             included in this novel category satisfies the test articulated in
             Gravel, the category does not settle the question of whether the
             communications are privileged. Rather, a given act is
             legislative if it is an “integral part of” relevant House or
             committee “proceedings.” Gravel, 408 U.S. at 625. It is
             possible that some communications within the informal
             factfinding category could be privileged, and therefore we
             disagree with the district court’s holding that informal
             factfinding is never a legislative act. But we also reject
             Representative Perry’s proposition that informal factfinding is
             always a legislative act.

                  In assessing whether the privilege applies, the Supreme
             Court and this circuit undertake a fact-specific inquiry under
             Gravel. Because the district court is better positioned to apply
             the correct fact-specific inquiry in the first instance, we vacate
             and remand this part of the order.


             of review before disclosure to the Executive. The government’s
             somewhat baffling view is that once this single layer of review is
             complete, right or wrong, there is nothing more for an appellate court
             to do. This argument mistakenly treats Rayburn’s nondisclosure
             protection as a prophylactic rule rather than a constitutional
             privilege. If a communication is privileged and within Rayburn’s
             scope, the Executive Branch violates the Speech or Debate Clause
             by viewing it. And if the collateral order doctrine provides
             jurisdiction, as it does here, we must exercise that jurisdiction. See
             Sprint Communications, Inc. v. Jacobs, 571 U.S. 69, 77 (2013)
             (“Federal courts … have no more right to decline the exercise of
             jurisdiction which is given, than to usurp that which is not given.”)
             (cleaned up).
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                                             18
                                             A.

                  In holding that informal factfinding is categorically not
             privileged, the district court relies primarily on Eastland and
             McSurely. These cases, however, do not establish a categorical
             privilege rule for formal (i.e., congressionally authorized)
             factfinding, much less for informal factfinding. Rather, these
             cases simply apply Gravel and established legal principles to
             determine whether some actions taken pursuant to formally
             authorized investigations are legislative and therefore
             privileged.

                  For instance, in Eastland, the Supreme Court held the
             privilege attached to the issuance of a subpoena by a
             subcommittee acting pursuant to a Senate authorized national
             security investigation. 421 U.S. at 503–07. The subpoena
             sought the bank records of a non-profit organization, and the
             organization sued the subcommittee’s chairman, other
             senators, and a subcommittee attorney, seeking injunctive and
             declaratory relief. Id. at 494–95. The Court began by
             considering whether the subpoena was “within the legitimate
             legislative sphere” and whether the acts “took place ‘in a
             session of the House by one of its members in relation to the
             business before it.’” Id. at 503 (cleaned up) (quoting Kilbourn,
             103 U.S. at 204). The Court emphasized that an official
             congressional investigation is “essential to legislating” and
             covered by the privilege so long as the subcommittee stays
             within its “province.” Id. at 507 (cleaned up); see also Trump
             v. Mazars USA, LLP, 140 S. Ct. 2019, 2031 (2020) (explaining
             Congress enjoys an investigative power that has defined limits
             and “is justified solely as an adjunct to the legislative process”)
             (cleaned up). More specifically, the issued subpoena
             “concerned a subject on which legislation could be had,” and
             the Members’ decision to issue it was consequently “an integral
             part of the legislative process” within the scope of Gravel.
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                                            19
             Eastland, 421 U.S. at 505–06 (cleaned up). In these
             circumstances, the issuance of the subpoena was a privileged
             legislative act.

                  The Court has been careful to maintain, however, that not
             everything done pursuant to formal authorization is privileged.
             For instance, in McMillan, the Court explained that “the fact of
             congressional authorization for the questioned act is not
             sufficient to insulate the act from judicial scrutiny.” 412 U.S.
             at 316 n.10; see also Powell v. McCormack, 395 U.S. 486, 504
             (1969) (similar). The Court recognized the “importance of
             informing the public about the business of Congress. However,
             the question remains whether the act of doing so, simply
             because authorized by Congress, must always be considered
             ‘an integral part of the deliberative and communicative
             processes by which Members participate in committee and
             House proceedings’ with respect to legislative or other matters
             before the House.” McMillan, 412 U.S. at 314 (quoting Gravel,
             408 U.S. at 625); see also Eastland, 421 U.S. at 505–07
             (following McMillan and Gravel). The relevant inquiry always
             reverts to whether an act is legislative under Gravel.

                  In McSurely, our en banc court considered in detail
             whether the “transportation and use of … seized” private
             documents “by the chairman of [a] Senate subcommittee and
             several members of the subcommittee staff” were covered by
             the privilege. 553 F.2d at 1280 (per curiam opinion). We
             explained that even if an investigation “fell within the broad
             authorization of [a] Senate resolution[,] [that] does not render
             everything done by” a subcommittee or one of its
             investigators “privileged activity which is essential to
             legislating.” Id. at 1295 (majority opinion) (cleaned up).
             Rather, in order “[f]or an activity to be considered ‘essential to
             legislating’ it must be ‘an integral part of the deliberative and
             communicative processes’ dealing with matters within the
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                                            20
             jurisdiction of Congress.” Id. (quoting Gravel, 408 U.S. at
             625). And even authorized factfinding may not be privileged if
             it “go[es] beyond the reasonable requirements of the legislative
             function.” Id. at 1285 n.27, 1287 (quoting McMillan, 412 U.S.
             at 315). In applying these principles, we found that some acts
             taken pursuant to the investigation were protected and others
             were not. For instance, subcommittee staff were protected
             when they inspected “234 photocopies” of seized documents
             “within the [s]ubcommittee.” Id. at 1296. The Members were
             also protected when they “use[d] … the copies as the basis for
             issuance of subpoenas … and … procure[d] … contempt of
             Congress citations against [the] plaintiffs.” Id. But one of the
             subcommittee’s investigators was not protected when he seized
             documents “[c]oncededly [i]rrelevant to [l]egislative
             [i]nquiry.” 7 Id. at 1294–95 (majority opinion). In McSurely, the
             granular, fact-intensive evaluation resists any categorical rule
             that the Speech or Debate Clause privilege turns on formal
             authorization for an investigation.

                  Other decisions similarly confirm the Speech or Debate
             privilege does not turn solely on the formality or regularity of
             a Member’s act. For example, Coffin held the privilege was
             applicable to legislative acts “without inquiring whether the
             exercise was regular according to the rules of the house, or
             irregular and against their rules.” 4 Mass. at 27 (emphasis
             added). And in Brown & Williamson, we noted “[t]he
             privilege … permits Congress to conduct investigations and
             obtain information without interference from the courts, at
             least when these activities are performed in a procedurally
             regular fashion.” 62 F.3d at 416 (emphasis added).


             7
               Five of ten participating judges dissented with respect to these
             documents, but they did so on Fourth Amendment grounds. See id.
             at 1327–33 (Wilkey, J., dissenting).
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                                              21
                  In light of the reasoning in Eastland, McSurely, and other
             cases, we reject the district court’s holding that all informal
             factfinding is excluded from protection of the privilege and that
             factfinding must have formal authorization before the privilege
             may attach. See In re Search, slip op. at 21. An investigation
             authorized by the House and within its jurisdiction is an
             exercise of congressional power and by definition part of a
             legislative proceeding, but formal authorization is neither
             necessary nor sufficient for the privilege to attach to the wide
             range of activities that could be denominated “investigative” or
             “factfinding.” 8 Rather, the Supreme Court and this circuit
             consider the specific facts to determine whether a particular
             action is a legislative act within the test articulated by Gravel. 9

                                              B.

                  Representative Perry maintains all instances of informal
             factfinding fit within Gravel’s first category: acts that are
             “integral part[s] of the deliberative and communicative
             processes by which Members participate in committee and
             House proceedings with respect to the consideration and


             8
               When a privilege argument rests on the assertion that a House of
             Congress validly exercised its investigative power, the scope of that
             investigative power is relevant to the inquiry and the Court considers
             whether the investigation concerns “a subject on which legislation
             may be had.” Eastland, 421 U.S. at 508. But determining whether
             Congress acted within the scope of its investigative power is a
             distinct inquiry from whether the privilege attaches under Gravel.
             9
               Even under this fact-specific evaluation, the district court was
             correct that it is “unnecessary and irrelevant” to “assess the sources
             of information Rep. Perry chose to use, the significance of that
             information to him in how he chose to act, or whether the information
             he obtained … amounted to verifiable facts.” In re Search, slip op.
             at 30.
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                                             22
             passage or rejection of proposed legislation.” 10 408 U.S. at 625.
             To support his contention, Representative Perry relies on the
             importance of Congress’s factfinding or informing function as
             an ancillary to its legislative powers. For example,
             Representative Perry points to the Court’s emphasis that “the
             power to investigate is inherent in the power to make laws
             because ‘a legislative body cannot legislate wisely or
             effectively in the absence of information respecting the
             conditions which the legislation is intended to affect or
             change.’” See Eastland, 421 U.S. at 504 (quoting McGrain v.
             Daugherty, 273 U.S. 135, 175 (1927)) (cleaned up); see also
             McSurely, 553 F.2d at 1286 (“We have no doubt that
             information gathering, whether by issuance of subpoenas or
             field work by a Senator or his staff, is essential to informed
             deliberation over proposed legislation.”). Representative Perry
             contends the importance of factfinding to the legislative
             process necessarily makes such acts legislative and therefore
             privileged.

                 Informal factfinding is an amorphous category, and
             Perry’s briefing is unclear what precisely would be subsumed
             within this term. Some instances of informal factfinding might
             be privileged, but at least some of the acts Representative Perry
             considers to be informal factfinding have been held to be
             outside the coverage of the Clause. See McSurely, 553 F.2d at
             1285 n.27 (explaining the Supreme Court “has held significant
             aspects of ‘the informing function of Congress’ outside of the


             10
               Representative Perry makes no argument that informal factfinding
             categorically fits within Gravel’s second category, acts that are
             “integral part[s] of the deliberative and communicative processes by
             which Members participate in committee and House
             proceedings … with respect to other matters … within the
             jurisdiction of either House.” Gravel, 408 U.S. at 625.
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                                            23
             protection of the Speech or Debate Clause”) (cleaned up). His
             categorical claim for the privilege therefore fails.

                   To begin with, Representative Perry would treat acquiring
             information or documents to further legislative deliberations as
             always privileged, but this claim is directly at odds with
             Gravel. Perry Br. 11, 17. That case concerned a senator who
             obtained a copy of the classified Pentagon Papers with the help
             of an aide. Gravel, 408 U.S. at 608–10. The Senator read the
             Papers into the record and subsequently handed them off to a
             private publisher. Id. at 609–10. The Court held the Senator’s
             act of reading the Papers into the record was a legislative act,
             i.e., actual speech in the Senate, but the act of publishing them
             was not. Id. at 615–16, 622, 628–29. Importantly, the Court
             held a grand jury could ask the aide “questions relevant to
             tracing the source of … documents that came into the Senator’s
             possession … as long as no legislative act is implicated by the
             questions.” Id. at 628 (emphasis added). This necessarily
             entails that the acquisition of documents—a form of informal
             factfinding—was not a legislative act. Gravel pokes a
             substantial hole in Representative Perry’s privilege category.

                  Representative Perry also suggests that informal
             factfinding includes all “efforts to help inform consideration of
             an upcoming vote.” Perry Br. 17. But this claim is inconsistent
             with the Supreme Court’s decision in Hutchinson. There, a
             Member collected information about the federal government’s
             allegedly wasteful expenditures and circulated this information
             in a press release and a constituent newsletter. 443 U.S. at 114–
             17. The press release called the spending “outrageous” and
             urged it was “time we put a stop” to the waste. Id. at 116
             (cleaned up). These communications fit within Representative
             Perry’s understanding of informal factfinding because the
             Court recognized “a Member’s published statements exert
             some influence on other votes in the Congress and therefore
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                                             24
             have a relationship to the legislative and deliberative process.”
             Id. at 131 (emphasis added). Nonetheless, the Court held the
             privilege inapplicable because “neither the newsletters nor the
             press release was essential to the deliberations of the Senate
             and neither was part of the deliberative process.” Id. at 130
             (emphasis added) (cleaned up). Not all communications that
             may influence a vote are privileged; rather, the proper test is
             whether such communications are “integral” or “essential” to
             deliberations or otherwise satisfy the requirements of Gravel. 11

                  Finally, Representative Perry suggests his informal
             factfinding efforts are legislative acts because these
             communications related to his “official” duties and
             responsibilities as a Member of Congress “during a time of
             uncertainty about the validity of a Presidential election and
             under circumstances that neither the nation nor its leaders had
             seen before.” Perry Br. 28. The Speech or Debate privilege
             undoubtedly “assure[s] a co-equal branch of the government
             wide freedom of speech, debate, and deliberation without
             intimidation or threats from the Executive Branch.” Gravel,
             408 U.S. at 616. But under Gravel, the “Clause … does not
             protect acts that are not legislative in nature, even if they are
             performed in a Member’s official capacity.” Rose, 28 F.3d at
             187 (cleaned up).

                  Privileged legislative acts are only a subset of the various
             activities a Member may undertake as part of his official duties
             and responsibilities. The fact that informal factfinding is
             consistent with a Member’s official duty to legislate wisely
             does not necessarily mean that such acts are privileged. For

             11
                To the extent Representative Perry also suggests the privilege
             extends to any and all factual conversations a Member has with
             individuals outside Congress, Perry Br. 29–30, our caselaw offers no
             support for that assertion.
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                                             25
             instance, the Court has held that the following activities are
             properly within a Member’s duties, yet not covered by the
             privilege: “legitimate activities [of a] political … nature,”
             Brewster, 408 U.S. at 512; sending political newsletters to
             constituents, Hutchinson, 443 U.S. at 130; and
             “cajol[ing] … and exhort[ing]” the Executive Branch, Gravel,
             408 U.S. at 625. Representative Perry’s suggestion that all
             “official” acts are privileged directly contradicts the rule that
             the Clause does not “protect[] all conduct relating to the
             legislative process. … [T]he … Clause has been limited to an
             act which was clearly a part of the legislative process—the due
             functioning of the process.” Brewster, 408 U.S. at 515–16;
             accord Brown & Williamson, 62 F.3d at 415.

                  Informal factfinding encompasses a wide spectrum of acts
             that may or may not be related, much less integral, to House
             “deliberative and communicative processes.” Gravel, 408 U.S.
             at 625. Cases applying the Gravel test to specific acts
             demonstrate that informal factfinding has no necessary
             connection to the privilege. 12 Not everything under the
             informal factfinding umbrella is protected. Representative
             Perry’s attempt to shoehorn a novel and broad category into
             Gravel would pull the Supreme Court’s doctrinal framework
             out of joint.

                                           ***

                  The Supreme Court and this circuit have never suggested
             that investigative activities are privileged only if undertaken
             pursuant to formal authorization, nor that any activity asserted
             to be investigative factfinding is privileged. These categorical
             rules are inconsistent with our longstanding precedents and

             12
                Judge Katsas suggests some narrower category of information
             gathering is protected by the Clause. While this possibility is not
             foreclosed, we need not resolve it in this case.
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                                           26
             their reasoning. The labels “formal” and “informal” factfinding
             gloss over the appropriate analysis under the Speech or Debate
             Clause. It follows from these principles that communications
             with individuals outside of Congress may qualify for the
             privilege. To determine whether a particular matter or action is
             privileged, we must apply the test in Gravel in a manner
             consistent with the principles undergirding the Clause. Because
             the district court applied the incorrect legal standard, we
             remand the privilege determinations over categories (1) and (3)
             for the district court to apply Gravel on a communication-by-
             communication basis.

                                           V.

                  We now consider whether the privilege applies to
             communications between Representative Perry and other
             Members of Congress or congressional staff. The district court
             held some of these category (2) communications were
             privileged legislative acts and some not. Representative Perry
             maintains they are all privileged.

                  The district court correctly held that communications with
             Members and staff about legislation, votes, committee
             assignments, and caucus affairs were squarely “legislative
             acts” within the meaning of Gravel. In re Search, slip op. at
             40–44. Records of these communications are privileged.

                 The district court also determined that some of
             Representative Perry’s intra-congressional communications
             were non-legislative. Id. at 43–44. These included electronic
             newsletters, insofar as they merely discussed “upcoming
             events, political talking points, news articles of interest, and
             [non-legislative] events occurring in and around Congress.” Id.
             We agree these are too far removed from legislative
             proceedings to warrant privilege under the Clause. Not
             “everything a Member of Congress may regularly do is … a
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                                             27
             legislative act within the protection of the Speech or Debate
             Clause.” McMillan, 412 U.S. at 313. Although sent by
             Members of Congress to other Members, the newsletters did
             not concern legislative proceedings or matters integral to those
             proceedings, but rather focused on topics outside the
             “legislative sphere.” Id. (cleaned up). The subjects of these
             communications are akin to political matters not covered by the
             privilege. See Brewster, 408 U.S. at 512–13. These newsletters
             are also similar to the newsletters and press release the Court
             held unprotected in Hutchinson because they were not
             “essential to the deliberations of the Senate [nor] part of the
             deliberative process.” 443 U.S. at 130 (cleaned up). It follows
             that Representative Perry’s discussions with his staff about
             press coverage and his media strategy are also not privileged
             legislative acts. These strategic discussions are at least as
             removed from the deliberative process as the unprivileged
             communications in Hutchinson. The government may view
             records of these communications.

                  We disagree, however, with the district court’s
             determination that discussions with other Members about
             alleged fraud in the 2020 presidential election were non-
             legislative. The court described these conversations as “purely
             political rather than legislative” and opined that they were “[a]t
             best … merely incidental to Rep. Perry’s [upcoming
             certification] vote.” In re Search, slip op. at 45–47. The district
             court concluded these conversations were “not integral to”
             legislative proceedings and were “‘beyond the legitimate
             legislative needs of Congress.’” Id. at 46–47 (quoting
             McSurely, 553 F.2d at 1285–86).

                 The district court inadequately considered the context of
             these conversations, which involved Member deliberations
             about upcoming votes. Some of the communications took place
             shortly prior to Congress’s scheduled January 2021 vote on
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             whether to certify the electoral results from each state. Others
             took place while the House was considering a bill that would
             modify federal election procedures, among other things. See
             H.R. 1, 117th Cong. Discussions between Members about
             pending votes are “things generally done in a session of the
             House by one of its members in relation to the business before
             it,” Kilbourn, 103 U.S. at 204, and such discussions are within
             the heartland of “the deliberative and communicative processes
             by which Members participate in committee and House
             proceedings with respect to the consideration and passage or
             rejection of proposed legislation” or other matters within the
             House’s jurisdiction. 13 Gravel, 408 U.S. at 625.

                  Relying on the fact that the communications concerned
             election fraud and electoral results, the district court labeled
             them “textbook political conversations not protected by the
             Clause.” In re Search, slip op. at 46. While elections are
             political events, a Member’s deliberation about whether to
             certify a presidential election or how to assess information
             relevant to legislation about federal election procedures are
             textbook legislative acts protected by Gravel.

                  Federal courts must determine the outer boundaries of the
             Speech or Debate Clause privilege. But when a Member
             engages in a legislative act, the court cannot carve out from the
             privilege certain topics of discussion by labeling them “merely
             incidental” or by deeming them illegitimate. Id. at 47; cf.
             Tenney, 341 U.S. at 377 (“The claim of an unworthy purpose
             does not destroy the privilege.”). For courts to pick and choose
             the scope of the privilege based on a free-floating evaluation of

             13
                The government does not dispute that the certification vote was a
             “matter[] which the Constitution places within the jurisdiction of
             [the] House,” nor that the vote on H.R. 1 was “the
             consideration … of proposed legislation.” Gravel, 408 U.S. at 625.
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                                            29
             the proper objects of congressional deliberation would threaten
             the Speech or Debate Clause’s essential protection for
             legislative independence.

                  Representative Perry’s conversations with other Members
             concerned the passage of proposed legislation as well as the
             exercise of the constitutional duty to certify the electoral votes
             from the 2020 election. These communications were
             privileged, and we leave it to the district court to implement
             this holding on a communication-by-communication basis.

                                           ***

                  As to Representative Perry’s communications with
             individuals outside the federal government, communications
             with members of the Executive Branch, and communications
             with other Members of Congress regarding alleged election
             fraud during the period before Congress’s vote certifying the
             2020 election and before its vote on H.R. 1, the district court
             failed to apply the fact-specific privilege inquiry under Gravel.
             We therefore vacate the judgment in part and remand for the
             district court to apply the correct standard, consistent with this
             opinion. With respect to the remaining privilege determinations
             about Representative Perry’s communications with Members
             of Congress, we affirm.

                                                                  So ordered.
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                  KATSAS, Circuit Judge, concurring: Representative Scott
             Perry claims that the Speech or Debate Clause of the
             Constitution protects the confidentiality of some 2,219 records
             stored on his cell phone, including 1,508 communications with
             individuals outside the House of Representatives. Perry says
             that the latter involve what he calls “informal factfinding” to
             inform his votes on whether to (1) certify the results of the 2020
             presidential election and (2) support a bill to modify election
             procedures. The district court held that because the House had
             not formally authorized an investigation into either matter, the
             Clause protects none of the 1,508 communications. On appeal,
             the Executive Branch supports the court’s holding that the
             Clause protects no unauthorized factfinding by individual
             Members of Congress, and Perry continues to argue that the
             Clause protects all the disputed records.

                  The Speech or Debate Clause provides that “for any
             Speech or Debate in either House,” Members of Congress
             “shall not be questioned in any other Place.” U.S. Const. art. I,
             § 6, cl. 1. The Clause protects only “legislative acts,” which
             “must be an integral part of the deliberative and communicative
             processes by which Members participate in committee and
             House proceedings with respect to the consideration” of either
             proposed legislation or other House votes. Gravel v. United
             States, 408 U.S. 606, 625 (1972). This category includes
             “things generally done in a session of the House by one of its
             members in relation to the business before it.” Kilbourn v.
             Thompson, 103 U.S. 168, 204 (1881). Conversely, the Clause
             does not protect “political” acts, which are “casually or
             incidentally related to legislative affairs but not a part of the
             legislative process itself.” United States v. Brewster, 408 U.S.
             501, 512, 528 (1972).

                  Several precedents elucidate this distinction. Protected
             legislative acts include voting, speaking on the floor,
             introducing bills or resolutions, writing committee reports, and
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                                           2
             speaking at committee meetings. See Doe v. McMillan, 412
             U.S. 306, 311 (1973); Kilbourn, 103 U.S. at 204. Also
             protected is the issuance of subpoenas, if formally authorized
             and relevant to a subject on which legislation could be had.
             Eastland v. U.S. Servicemen’s Fund, 421 U.S. 491, 504–06
             (1975). On the other hand, unprotected political acts include
             press releases, speeches made outside the Congress, and
             helping constituents. Brewster, 408 U.S. at 512. Also
             unprotected are “attempts to influence the conduct of executive
             agencies,” Hutchinson v. Proxmire, 443 U.S. 111, 121 n.10
             (1979); the taking of bribes, Brewster, 408 U.S. at 525–26; the
             unauthorized acquisition of classified documents, Gravel, 408
             U.S. at 628–29; and the use of other “unlawful means” to
             pursue investigations, McSurely v. McClellan, 553 F.2d 1277,
             1288 (D.C. Cir. 1976) (en banc).

                  The privilege claims asserted by Representative Perry are
             substantially overbroad. Many of the disputed records involve
             communications through which he sought to influence the
             conduct of officials outside the Congress—Executive Branch
             officials, state legislative officials, and campaign officials.
             Many other records involve press releases or media statements.
             The district court correctly held that the Speech or Debate
             Clause does not protect any of these records. And because
             Perry attempts to shoehorn all the disputed records into an
             assertedly protected category of informal factfinding, this
             Court rightly concludes that his alleged category includes many
             unprotected communications.

                 But some of the disputed records involve nothing more
             than Representative Perry gathering information to inform
             upcoming votes. In my view, the Speech or Debate Clause
             protects that activity. Should an individual Member of
             Congress bother to learn something about a bill before voting
             on it? The question answers itself. “Without information,
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             Congress would be shooting in the dark, unable to legislate
             ‘wisely or effectively.’” Trump v. Mazars USA, LLP, 140 S.
             Ct. 2019, 2031 (2020) (quoting McGrain v. Daugherty, 273
             U.S. 135, 175 (1927)). That is why each House has an implied
             power to subpoena witnesses or documents relevant to possible
             legislation. McGrain, 273 U.S. at 177. It is also why the
             Speech or Debate Clause protects exercises of that power.
             Eastland, 421 U.S. at 504. Of course, individual Members
             cannot unilaterally exercise the House’s implied power to issue
             subpoenas (at least absent a delegation), just as they cannot
             unilaterally exercise Congress’s express power to, say, regulate
             interstate commerce. But when individual Members solicit or
             receive information from colleagues or others willing to
             provide it voluntarily, they engage in activity integral to the
             “deliberative and communicative processes” of the Congress
             itself. Gravel, 408 U.S. at 625. Regardless of formal
             authorization, the Speech or Debate Clause thus protects
             “information gathering” as an “essential prerequisite[]” to the
             “enlightened debate over proposed legislation,” Gov’t of V.I. v.
             Lee, 775 F.2d 514, 521 (3d Cir. 1985); see Miller v.
             Transamerican Press, Inc., 709 F.2d 524, 530 (9th Cir. 1983),
             just as a common-law immunity protects the same activity by
             state and local legislators, Almonte v. City of Long Beach, 478
             F.3d 100, 107 (2d Cir. 2007); Bruce v. Riddle, 631 F.2d 272,
             279–80 (4th Cir. 1980); see also Kent v. Ohio House of
             Representatives Democratic Caucus, 33 F.4th 359, 364 (6th
             Cir. 2022) (equating the two immunities).

                  The district court reasoned that McSurely forecloses
             Speech or Debate Clause protection for information gathering
             that has not been formally authorized by the House or Senate
             itself. In re Search of Forensic Copy of Cell Phone of
             Representative Scott Perry, No. 1:22-sc-02144, slip op. at 22
             (D.D.C. Dec. 28, 2022) (In re Search). But one part of
             McSurely says the opposite: “The acquisition of knowledge
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             through informal sources is a necessary concomitant of
             legislative conduct and thus should be within the ambit of the
             privilege so that congressmen are able to discharge their
             constitutional duties properly.” 553 F.2d at 1287 (cleaned up).
             The district court invoked McSurely’s further statement that
             “congressional authorization” of an investigation, which the
             House or Senate typically provides to a committee or
             subcommittee, is a “requirement” to justify the issuance of
             subpoenas under McGrain and the ensuing Speech or Debate
             Clause protection under Eastland. See id. In turn, Eastland
             confirms that congressional authorization of an investigation is
             “sufficient” to justify the issuance of subpoenas under
             McGrain. See 421 U.S. at 506. These rules, governing the
             authority and protection for the issuance of congressional
             subpoenas, do not suggest that the Speech or Debate Clause
             affords no protection when a Member seeks only to gather
             information consensually and informally, from individuals
             willing to provide it voluntarily.

                  Moreover, such a restriction would stand the Clause on its
             head. Its most obvious applications—to speech, debate, and
             voting—cover activities that Members routinely perform on
             the floor of the House, individually and without authorization
             from any committee or subcommittee. A leading early decision
             held that a state analog of the Clause “is not so much the
             privilege of the house, as an organized body, as of each
             individual member composing it, who is entitled to this
             privilege, even against the declared will of the house.” Coffin
             v. Coffin, 4 Mass. 1, 27 (1808). The Supreme Court, describing
             Coffin as “perhaps, the most authoritative case in this country”
             on the “freedom of debate in legislative bodies,” has treated
             Coffin as highly persuasive in construing the federal Speech or
             Debate Clause. See Kilbourn, 103 U.S. at 203–04. And the
             modern Court continues to describe the Clause as protecting
             “the independence of individual legislators,” not the House or
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             Senate as a whole or committees or subcommittees acting on
             behalf of either body. Brewster, 408 U.S. at 507.

                  Finally, a formal authorization requirement would make
             no sense. At oral argument, the Executive all but conceded that
             the Speech or Debate Clause protects individual Members who,
             while conducting the business of a congressional committee or
             subcommittee, informally solicit input from individuals outside
             the Congress. See Oral Arg. 46:00–48:30, 51:30–52:05. But
             the character of these solicitations is the same regardless of
             whether the relevant deliberations occur in a subcommittee, in
             a committee, or on the floor. If a Member of the Senate
             Judiciary Committee engages in protected activity by soliciting
             input from outside groups to inform his vote on whether to
             recommend confirming a Supreme Court nominee, then so too
             do other Members of the Senate in deciding how to vote when
             the nomination reaches the full Senate. Likewise, the district
             court recognized that a Representative, regardless of committee
             or subcommittee authorization, engages in protected activity by
             soliciting information from fellow Representatives about an
             upcoming vote. In re Search, supra, at 40–41. If that is so,
             then so too does a Representative who, in preparing for the
             same vote, solicits information from individuals outside the
             Congress.

                  The Court rightly concludes that the category of “informal
             factfinding” proposed by Representative Perry includes much
             unprotected material, but I do not read the Court’s opinion to
             foreclose protection for the kind of informal, non-coercive
             information gathering that I have described.           On that
             understanding, I join the Court’s opinion in full.
